
667 S.E.2d 726 (2008)
Barbara BRADLEY
v.
MAXIM HEALTHCARE SERVICES.
No. 425P08.
Supreme Court of North Carolina.
October 9, 2008.
Tonya Davis Jallow, Susan J. Vanderweert, Raleigh, for Maxim Healthcare.
William G. Goldston, Durham, for Bradley.

ORDER
Upon consideration of the petition filed on the 9th day of September 2008 by Defendants (Maxim Healthcare &amp; A.I. South Ins. Co.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
Upon consideration of the petition filed by Defendants (Maxim Healthcare &amp; A.I. South Ins. Co.) on the 29th day of September 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
